Case 2:04-cv-02141-.]DB-dkv Document 20 Filed 07/13/05 Page 1 of 3 Page|D 23

Fll.ED BY , D.C.

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MEMPHIS

  

viNCENT LEFFLER and JAle wlll%l'ij§hll GO'TJY)W
LEFFLER,_ rndividuauy, and as ,i,`q;. .;;',`;: m '
next friend Of MADisoN LEFFLER, ‘ `
Plaintiffs,
v. No.; 04-214i-BV
MEMPHIS CITY scHooL BoARD
oF EDUCATION,
Defendant.

 

CONENT ORDER EXTENDING TIME TO
RESPOND TO MOTION FOR SUMMARY JUDEMENT

 

Upon consent of the parties, after good cause shown, it is hereby ordered that the Plaintiff
is hereby granted an extension to respond to the Defendant’s Motion for Sumrnary Judgrnent
until July 20, 2005. The other dates previously set by this Court pertaining pretrial order, pretrial

conference, and trial are to remain the same, subject to further order of this Court.

IT IS SO ORDERED.

  

 

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APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

